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                   Appendix B
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                DISTRIBUTORS WASHINGTON
                 SETTLEMENT AGREEMENT
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            DISTRIBUTORS – WASHINGTON SETTLEMENT AGREEMENT



                       I.     Overview

        This Distributors Washington Settlement Agreement (“Agreement”) sets forth the terms
and conditions of a settlement agreement between and among the State of Washington,
McKesson Corporation (“McKesson”), Cardinal Health, Inc. (“Cardinal”) and
AmerisourceBergen Corporation (“Amerisource”) (collectively, the “Agreement Parties”) to
resolve opioid-related Claims against McKesson, Cardinal, and/or Amerisource (collectively,
“Settling Distributors”).

        By entering into this Agreement, the State of Washington and its Participating
Subdivisions agree to be bound by all terms and conditions of the Distributor Global Settlement
Agreement dated July 21, 2021 (including its exhibits) (“Global Settlement”), which (including
its exhibits) is incorporated into this Agreement as Exhibit H.1 By entering this Agreement, and
upon execution of an Agreement Regarding the State of Washington and the Distributor Global
Settlement Agreement (“Enforcement Committee Agreement”), unless otherwise set forth in this
Agreement, the Settling Distributors agree to treat the State of Washington for all purposes as if
it were a Settling State under the Global Settlement and its Participating Subdivisions for all
purposes as if they were Participating Subdivisions under the Global Settlement. Unless stated
otherwise in this Agreement, the terms of this Agreement are intended to be consistent with the
terms of the Global Settlement and shall be construed accordingly. Unless otherwise defined in
this Agreement, all capitalized terms in this Agreement shall be defined as they are in the Global
Settlement.

       The Settling Distributors have agreed to the below terms for the sole purpose of
settlement, and nothing herein, including in any exhibit to this Agreement, may be taken as or
construed to be an admission or concession of any violation of law, rule, or regulation, or of any
other matter of fact or law, or of any liability or wrongdoing, or any misfeasance, nonfeasance,
or malfeasance, all of which the Settling Distributors expressly deny. No part of this Agreement,
including its statements and commitments, and its exhibits, shall constitute or be used as
evidence of any liability, fault, or wrongdoing by the Settling Distributors. Unless the contrary is
expressly stated, this Agreement is not intended for use by any third party for any purpose,
including submission to any court for any purpose.


                       II.    Conditions to Effectiveness of Agreement

    A.        Global Settlement Conditions to Effectiveness.

            1.       The Agreement Parties acknowledge that certain deadlines set forth in
    Section VIII of the Global Settlement passed before the execution of this Agreement. For

1
 The version of the Global Settlement as updated on March 25, 2022 is attached to this
Agreement as Exhibit H. Further updates to the Global Settlement shall be deemed incorporated
into this Agreement and shall supersede all earlier versions of the updated provisions.


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       that reason, (i) Settling Distributors agree to treat the State of Washington as satisfying the
       deadlines set forth in Section VIII of the Global Settlement provided that the State of
       Washington satisfies its obligations set forth in this Section II and (ii) the State of
       Washington agrees to treat Settling Distributors as having satisfied all notice obligations
       under Section VIII.B of the Global Settlement as to the State of Washington.

                2.      The State of Washington shall deliver all signatures and releases required
       by the Agreement to be provided by the Settling States to the Settling Distributors by
       September 30, 2022. This Section II.A.2 supersedes the deadline for delivering those
       signatures and releases set forth in Section VIII.A.1 of the Global Settlement.

        B.       Agreement with Enforcement Committee. This Agreement shall not become
effective unless the Enforcement Committee and the Settling Distributors execute the Enforcement
Committee Agreement. If the Enforcement Committee Agreement is not executed by June 1, 2022,
the State of Washington and Settling Distributors will promptly negotiate an agreement that mirrors
the Global Settlement to the extent possible and with a credit of $1,000,000 to Settling Distributors
to account for possible credits the Settling Distributors would have received under Section V of this
Agreement from the State Cost Fund and the Litigating Subdivision Cost Fund of the Global
Settlement and to be deducted from the Year 7 payment described in Section V.B.1 and Section
V.C.g of this Agreement.

       C.       Participation by Subdivisions. If the condition in Section II.B has been satisfied,
this Agreement shall become effective upon one of the following conditions being satisfied:

               1.     All Litigating Subdivisions in the State of Washington and ninety percent
       (90%) of Non-Litigating Primary Subdivisions (calculated by population pursuant to the
       Global Settlement) in the State of Washington must become Participating Subdivisions by
       September 23, 2022.

                2.       If the condition set forth in Section II.C.1 is not met, the Settling
       Distributors shall have sole discretion to accept the terms of this Agreement, which shall
       become effective upon notice provided by the Settling Distributors to the State of
       Washington. If the condition set forth by Section II.C.1 is not met and Settling Distributors
       do not exercise discretion to accept this Agreement, this Agreement will have no further
       effect and all releases and other commitments or obligations contained herein will be void.

        D.        Dismissal of Claims. Provided that the conditions in Sections II.B and II.C have
been satisfied, the State of Washington shall file the Consent Judgment described in Section I.N of
the Global Settlement and attached hereto as Exhibit G (“Washington Consent Judgment”) with the
King County Superior Court (“Washington Consent Judgment Court”) on or before November 1,
2022. This Section II.C.2 supersedes the deadline for submitting a Consent Judgment set forth in
Section VIII.B of the Global Settlement. In the event that the Court declines to enter the
Washington Consent Judgment, each Settling Distributor shall be entitled to terminate the
Agreement as to itself and shall be excused from all obligations under the Agreement, and if a
Settling Distributor terminates the Agreement as to itself, all releases and other commitments or
obligations contained herein with respect to that Settling Distributor will be null and void. The date
of the entry of the Washington Consent Judgment shall be the effective date of this Agreement


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(“Washington Effective Date”). Within the later of forty-five (45) days after the Washington
Effective Date or December 31, 2022, each Settling Distributor will certify to the State that all
medical claims data provided to it during the litigation (including Medicaid, PMP, LNI claims, and
PEBB data) has been destroyed by the party and its agents, including all retained experts.


                         III.    Participation by Subdivisions

        A.       Notice. The Office of the State of Washington Attorney General in consultation
with the Settling Distributors shall send individual notice of the opportunity to participate in this
Agreement and the requirements for participation to all Subdivisions eligible to participate who
have not returned an executed Subdivision Settlement Participation Form within fifteen (15) days of
the execution of this Agreement. The Office of the State of Washington Attorney General may also
provide general notice reasonably calculated to alert Subdivisions, including publication and other
standard forms of notification. Nothing contained herein shall preclude the State of Washington
from providing further notice to, or from contacting any of its Subdivision(s) about, becoming a
Participating Subdivision.

        B.      Trigger Date for Later Litigating Subdivisions. Notwithstanding Sections I.EE and
I.GGGG of the Global Settlement, as to the State of Washington, Settling Distributors and the State
of Washington agree to treat the Trigger Date for Primary Subdivisions as September 23, 2022 and
the Trigger Date for all other Subdivisions as May 3, 2022.

         C.        Initial and Later Participating Subdivisions. Notwithstanding Sections I.BB, I.CC,
I.FF and Section VII.D and E of the Global Settlement, any Participating Subdivision in
Washington that meets the applicable requirements for becoming a Participating Subdivision set
forth in Section VII.B or Section VII.C of the Global Settlement on or before September 23, 2022
shall be considered an Initial Participating Subdivision. Participating Subdivisions that are not
Initial Participating Subdivisions but meet the applicable requirements for becoming Participating
Subdivisions set forth in Section VII.B or Section VII.C of the Global Settlement after September
23, 2022 shall be considered Later Participating Subdivisions.

        D.       Subdivision Settlement Participation Forms. Each Subdivision Settlement
Participation Form submitted by a Participating Subdivision from the State of Washington shall be
materially identical to Exhibit F to this Agreement. Nothing in Exhibit F is intended to modify in
any way either the terms of this Agreement or the terms of the Global Settlement, both of which the
State of Washington and Participating Subdivisions agree to be bound. To the extent that any
Subdivision Settlement Participation Form submitted by any Participating Subdivision is worded
differently from Exhibit F to this Agreement or interpreted differently from the Global Agreement
and this Agreement in any respect, the Global Agreement and this Agreement control.


                         IV.     Settlement Payments

         A.      Schedule. Annual Payments under this Agreement shall be calculated as if the
State of Washington were a Settling State under the Global Settlement and shall be made pursuant
to the terms of Section IV of the Global Settlement except that, as to the State of Washington, the
Payment Date for Payment Year 1 shall be December 1, 2022 and the Payment Date for Payment


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Year 2 shall be December 1, 2022. For the avoidance of doubt, the sole component of the State of
Washington’s Annual Payment is the portion of the Net Abatement Amount allocated to the State
of Washington under the Global Settlement (“Washington Abatement Amount”). The maximum
possible Washington Abatement Amount is $430,249,769.02.

        B.       Use of Payment. The Washington Abatement Amount paid under this Agreement
shall be used as provided for in Section V of the Global Settlement.

        C.      Nature of Payment. The State of Washington and its Participating Subdivisions
agree that payments made to the State of Washington and its Participating Subdivisions under this
Agreement are properly characterized as described in Section V.F of the Global Settlement.


                          V.      Plaintiffs’ Attorneys’ Fees and Costs

       A.      Interaction with Global Settlement. Notwithstanding any contrary provision in the
Global Settlement, payments to cover attorneys’ fees and costs under this Agreement (“Washington
Fees and Costs”) shall be made pursuant to this Section V.

       B.       Amounts. The total amount to cover of all Washington Fees and Costs is
$87,750,230.98. That total consists of the categories of attorneys’ fees and costs set forth in this
Section V.B and shall be paid on the schedule set forth in Section V.C.

                1.      State Outside and Inside Counsel Fees and Costs. Settling Distributors shall
       pay $76,829,316.21 to cover in-house fees and costs and outside counsel fees and costs to
       the Washington Attorney General’s Office, which shall be used for any lawful purpose in
       the discharge of the Attorney General’s duties at the sole discretion of the Attorney General.
       The amount shall be paid in increments as specified in Section V.C (Payment Year 1 – 20%,
       Payment Year 2 – 20%, Payment Year 3 – 15%, Payment Year 4 – 15%, Payment Year 5 –
       15%, Payment Year 6 – 10%, Payment Year 7– 5%.)

                2.      Fees and Costs for Participating Litigating Subdivisions’ Attorneys.
       Settling Distributors shall pay $10,920,914.70 to Participating Litigating Subdivisions’
       attorneys for fees and costs into a single account as directed by the Washington Attorney
       General’s Office, which then shall be paid as agreed between the State of Washington and
       attorneys for Participating Litigating Subdivisions. Participating Litigating Subdivisions’
       attorneys shall be paid in accordance with the schedule in Section V.C and V.D.5 of this
       Agreement.

       C.        Schedule. Washington Fees and Costs shall be paid according to the following
schedule:

                        a.     Payment Year 1: Twenty percent (20%) of the total Washington
                 Fees and Costs amount ($17,550,046.20), to be paid on or before December 1,
                 2022.




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                       b.     Payment Year 2: Twenty percent (20%) of the total Washington
                Fees and Costs amount ($17,550,046.20), to be paid on or before December 1,
                2022.

                       c.     Payment Year 3: Fifteen percent (15%) of the total Washington
                Fees and Costs amount ($13,162,534.65), to be paid on or before July 15, 2023.

                       d.     Payment Year 4: Fifteen percent (15%) of the total Washington
                Fees and Costs amount ($13,162,534.65), to be paid on or before July 15, 2024.

                       e.     Payment Year 5: Fifteen percent (15%) of the total Washington
                Fees and Costs amount ($13,162,534.65), to be paid on or before July 15, 2025.

                      f.     Payment Year 6: Ten percent (10%) of the total Washington Fees
                and Costs amount ($8,775,023.10), to be paid on or before July 15, 2026.

                      g.     Payment Year 7: Five percent (5%) of the total Washington Fees
                and Costs amount ($4,387,511.55), to be paid on or before July 15, 2027.

       D.       Remittance. So that Settling Distributors do not pay the same fees and costs under
both the Global Settlement and this Agreement, Washington and its Participating Litigating
Subdivisions and their respective counsel shall do as follows:

                 1.     Participating Litigating Subdivisions in Washington and their counsel shall
       apply to the Attorney Fee Fund and the Litigating Subdivision Cost Fund created pursuant
       to Exhibit R of the Global Settlement for all fees, costs and expenses for which they may be
       eligible and shall instruct the Fee Panel and the Cost and Expense Fund Administrator to
       remit to Settling Distributors the full amount awarded to such Participating Litigating
       Subdivision, with each Settling Distributor receiving the percentage of that amount
       corresponding to the allocation set forth in Section IV.I of the Global Settlement.

                2.      Counsel for Participating Subdivisions shall instruct the Fee Panel created
       by the MDL Court pursuant to Exhibit R of the Global Settlement to remit to Settling
       Distributors the Contingency Fee Amount for their Participating Subdivisions in the State of
       Washington, with each Settling Distributor receiving the percentage of that amount
       corresponding to the allocation set forth in Section IV.I of the Global Settlement.

                3.      The State of Washington shall instruct the Fee Fund Administrator selected
       pursuant to Exhibit S of the Global Settlement that the Settling Distributors shall not pay the
       Fixed Amount for the State of Washington, and the State of Washington will not be eligible
       to receive funds from the State Outside Counsel Fee Fund under the Global Settlement.

                4.      The State of Washington shall submit documented costs, as provided for in
       Exhibit T of the Global Settlement, to the Global Settlement State Cost Fund created
       pursuant to Exhibit T of the Global Settlement for all costs and expenses for which it may
       be eligible and shall instruct the State Cost Fund Administrator to remit to Settling
       Distributors the full amount awarded to the State of Washington, with each Settling



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       Distributor receiving the percentage of that amount corresponding to the allocation set forth
       in Section IV.I of the Global Settlement.

                5.       No Participating Litigating Subdivision shall receive any payment due
       under this Agreement, including but not limited to the portion of the Washington Abatement
       Amount allocable to the Participating Subdivision, until it and/or its outside counsel, as
       applicable, fulfill their obligations under Sections V.D. 1-2.


                          VI.     Release

         A.       Scope. As of the Washington Effective Date, Section XI of the Global Settlement
is fully binding on, and effective with respect to, all Releasors under this Agreement. Accordingly,
as of the Washington Effective Date, the Released Entities are hereby released and forever
discharged from all Released Claims of Releasors, including the State of Washington and its
Participating Subdivisions.


                          VII.    Miscellaneous

        A.        No Admission. The Settling Distributors do not admit liability, fault, or
wrongdoing. Neither this Agreement nor the Washington Consent Judgment shall be considered,
construed or represented to be (1) an admission, concession or evidence of liability or wrongdoing
or (2) a waiver or any limitation of any defense otherwise available to the Settling Distributors. It is
the understanding and intent of the Agreement Parties that no portion of the Agreement shall be
entered into evidence in any other action against the Settling Distributors, among other reasons,
because it is not relevant to such action. For the avoidance of any doubt, nothing herein shall
prohibit a Settling Distributor from entering this Agreement into evidence in any litigation or
arbitration concerning a Settling Distributor’s right to coverage under an insurance contract.

         B.         Tax Cooperation and Reporting. The State of Washington and its Participating
Subdivisions will be bound by Section V.F and Section XIV.F of the Global Settlement, except
(i) as set forth in the final sentence of this Section VII.B and (ii) that the State of Washington shall
be its own Designated State and shall designate its own “appropriate official” within the meaning of
Treasury Regulations Section 1.6050X-1(f)(1)(ii)(B) (the “Appropriate Official”). The IRS Forms
1098-F to be filed with respect to this Agreement are attached as Exhibit C, Exhibit D, and Exhibit
E. The State of Washington and its Participating Subdivisions agree that any return, amended
return, or written statement filed or provided pursuant to Section XIV.F.4 of the Global Settlement
with respect to this Agreement, and any similar document, shall be prepared and filed in a manner
consistent with reporting each Settling Distributor’s portion of the aggregate amount of payments
paid or incurred by the Settling Distributors hereunder as the “Total amount to be paid” pursuant to
this Agreement in Box 1 of IRS Form 1098-F, each Settling Distributor’s portion of the amount
equal to the aggregate amount of payments paid or incurred by the Settling Distributors hereunder
less the Compensatory Restitution Amount as the “Amount to be paid for violation or potential
violation” in Box 2 of IRS Form 1098-F and each Settling Distributor’s portion of the
Compensatory Restitution Amount as “Restitution/remediation amount” in Box 3 of IRS Form
1098-F, as reflected in Exhibit C, Exhibit D, and Exhibit E.



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         C.       No Third-Party Beneficiaries. Except as expressly provided in this Agreement, no
portion of this Agreement shall provide any rights to, or be enforceable by, any person or entity that
is not the State of Washington or a Released Entity. The State of Washington may not assign or
otherwise convey any right to enforce any provision of this Agreement.

        D.        Cooperation. Each Agreement Party and each Participating Subdivision agrees to
use its best efforts and to cooperate with the other Agreement Parties and Participating Subdivisions
to cause this Agreement to become effective, to obtain all necessary approvals, consents and
authorizations, if any, and to execute all documents and to take such other action as may be
appropriate in connection herewith. Consistent with the foregoing, each Agreement Party and each
Participating Subdivision agrees that it will not directly or indirectly assist or encourage any
challenge to this Agreement or the Washington Consent Judgment by any other person, and will
support the integrity and enforcement of the terms of this Agreement and the Washington Consent
Judgment.

        E.       Enforcement. All disputes between Settling Distributors and the State of
Washington and/or the Participating Subdivisions in the State of Washington shall be handled as
specified in Section VI of the Global Settlement, including the referral of relevant disputes to the
National Arbitration Panel.

        F.       No Violations of Applicable Law. Nothing in this Agreement shall be construed to
authorize or require any action by Settling Distributors in violation of applicable federal, state, or
other laws.

       G.        Modification. This Agreement may be modified by a written agreement of the
Agreement Parties. For purposes of modifying this Agreement or the Washington Consent
Judgment, Settling Distributors may contact the Washington Attorney General for purposes of
coordinating this process. The dates and deadlines in this Agreement may be extended by written
agreement of the Agreement Parties, which consent shall not be unreasonably withheld.

        H.       No Waiver. Any failure by any Agreement Party to insist upon the strict
performance by any other party of any of the provisions of this Agreement shall not be deemed a
waiver of any of the provisions of this Agreement, and such party, notwithstanding such failure,
shall have the right thereafter to insist upon the specific performance of any and all of the
provisions of this Agreement.

        I.       Entire Agreement. This Agreement, including the Global Settlement (and its
exhibits), represents the full and complete terms of the settlement entered into by the Agreement
Parties, except as provided herein. In any action undertaken by the Agreement Parties, no prior
versions of this Agreement and no prior versions of any of its terms may be introduced for any
purpose whatsoever.

        J.       Counterparts. This Agreement may be executed in counterparts, and a facsimile or
.pdf signature shall be deemed to be, and shall have the same force and effect as, an original
signature.

       K.        Notice. All notices or other communications under this Agreement shall be
provided to the following via email and overnight delivery to:


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       Copy to AmerisourceBergen Corporation’s attorneys at:
       Michael T. Reynolds
       Cravath, Swaine & Moore LLP
       825 8th Avenue
       New York, NY 10019
       mreynolds@cravath.com

       Copy to Cardinal Health, Inc.’s attorneys at:
       Elaine Golin
       Wachtell, Lipton, Rosen & Katz
       51 West 52nd Street
       New York, NY 10019
       epgolin@wlrk.com

       Copy to McKesson Corporation’s attorneys at:
       Thomas J. Perrelli
       Jenner & Block LLP
       1099 New York Avenue, NW, Suite 900
       Washington, DC 20001-4412
       TPerrelli@jenner.com

       Copy to the State of Washington at:

       Shane Esquibel
       Jeffrey Rupert
       Laura Clinton
       Washington Attorney General’s Office
       1125 Washington Street SE
       PO Box 40100
       Olympia, WA 98504-0100
       Shane.Esquibel@atg.wa.gov
       Jeffrey.Rupert@atg.wa.gov
       Laura.Clinton@atg.wa.gov

[Signatures begin on next page.]




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Authorized and agreed to by:




 Dated: May 2, 2022               AMERISOURCEBERGEN CORPORATION



                                  By:
                                        Elizabeth Campbell
                                        Executive Vice President and Chief Legal Officer
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Authorized and agreed to by:




 Dated: 04/29/2022                CARDINAL HEALTH, INC.



                                  By:

                                        Name: Jessica Mayer

                                        Title:   Chief Legal and Compliance Officer
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                                                  Exhibit A
                                             Primary Subdivisions2


     No.        Subdivision Name

     1.         Aberdeen city
     2.         Adams County
     3.         Anacortes City
     4.         Arlington City
     5.         Asotin County
     6.         Auburn City*
     7.         Bainbridge Island City
     8.         Battle Ground City
     9.         Bellevue City*
     10.        Bellingham City*
     11.        Benton County*
     12.        Bonney Lake City
     13.        Bothell City*
     14.        Bremerton City*
     15.        Burien City*
     16.        Camas City
     17.        Centralia City
     18.        Chelan County*
     19.        Cheney City
     20.        Clallam County*
     21.        Clark County*
     22.        Covington City
     23.        Cowlitz County*
     24.        Des Moines City*
     25.        Douglas County*
     26.        East Wenatchee City
     27.        Edgewood City
     28.        Edmonds City*
     29.        Ellensburg City
     30.        Enumclaw City
     31.        Everett City*
     32.        Federal Way City*
     33.        Ferndale City
     34.        Fife City
     35.        Franklin County*
     36.        Gig Harbor City
     37.        Grandview City
     38.        Grant County*

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 Entities denoted with an asterisk (*) indicate a population of greater than 30,000 for purposes of the definition of
Primary Subdivision as it relates to Incentive Payment C.


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    39.    Grays Harbor County*
    40.    Island County*
    41.    Issaquah City*
    42.    Jefferson County*
    43.    Kelso City
    44.    Kenmore City
    45.    Kennewick City*
    46.    Kent City*
    47.    King County*
    48.    Kirkland City*
    49.    Kitsap County*
    50.    Kittitas County*
    51.    Klickitat County
    52.    Lacey City*
    53.    Lake Forest Park City
    54.    Lake Stevens City*
    55.    Lakewood City*
    56.    Lewis County*
    57.    Liberty Lake City
    58.    Lincoln County
    59.    Longview City*
    60.    Lynden City
    61.    Lynnwood City*
    62.    Maple Valley City
    63.    Marysville City*
    64.    Mason County*
    65.    Mercer Island City
    66.    Mill Creek City
    67.    Monroe City
    68.    Moses Lake City
    69.    Mount Vernon City*
    70.    Mountlake Terrace City
    71.    Mukilteo City
    72.    Newcastle City
    73.    Oak Harbor City
    74.    Okanogan County*
    75.    Olympia City*
    76.    Pacific County
    77.    Pasco City*
    78.    Pend Oreille County
    79.    Pierce County*
    80.    Port Angeles City
    81.    Port Orchard City
    82.    Poulsbo City
    83.    Pullman City*
    84.    Puyallup City*



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    85.    Redmond City*
    86.    Renton City*
    87.    Richland City*
    88.    Sammamish City*
    89.    San Juan County
    90.    Seatac City
    91.    Seattle City*
    92.    Sedro-Woolley City
    93.    Shelton City
    94.    Shoreline City*
    95.    Skagit County*
    96.    Skamania County
    97.    Snohomish City
    98.    Snohomish County*
    99.    Snoqualmie City
    100.   Spokane City*
    101.   Spokane County*
    102.   Spokane Valley City*
    103.   Stevens County*
    104.   Sumner City
    105.   Sunnyside City
    106.   Tacoma City*
    107.   Thurston County*
    108.   Tukwila City
    109.   Tumwater City
    110.   University Place City*
    111.   Vancouver City*
    112.   Walla Walla City*
    113.   Walla Walla County*
    114.   Washougal City
    115.   Wenatchee City*
    116.   West Richland City
    117.   Whatcom County*
    118.   Whitman County*
    119.   Woodinville City
    120.   Yakima City*
    121.   Yakima County*




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                                       Exhibit B
                                Litigating Subdivisions


 No.      Subdivision Name

    1.    Anacortes City
    2.    Bainbridge Island City
    3.    Burlington City
    4.    Chelan County
    5.    Clallam County
    6.    Clark County
    7.    Everett City
    8.    Franklin County
    9.    Island County
    10.   Jefferson County
    11.   Kent City
    12.   King County
    13.   Kirkland City
    14.   Kitsap County
    15.   Kittitas County
    16.   La Conner School District
    17.   Lakewood City
    18.   Lewis County
    19.   Lincoln County
    20.   Mount Vernon City
    21.   Mount Vernon School District
    22.   Olympia City
    23.   Pierce County
    24.   San Juan County
    25.   Seattle City
    26.   Sedro-Woolley City
    27.   Sedro-Woolley School District
    28.   Skagit County
    29.   Snohomish County
    30.   Spokane City
    31.   Spokane County
    32.   Tacoma City
    33.   Thurston County
    34.   Vancouver City
    35.   Walla Walla County
    36.   Whatcom County
    37.   Whitman County




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                                         Exhibit C
                                    ABC IRS Form 1098-F


This Exhibit C will be appended to the Agreement prior to the Effective Date pursuant to Section
VII.B.




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                                        Exhibit D
                             Cardinal Health IRS Form 1098-F


This Exhibit D will be appended to the Agreement prior to the Effective Date pursuant to Section
VII.B.




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                                        Exhibit E
                                 McKesson IRS Form 1098-F


This Exhibit E will be appended to the Agreement prior to the Effective Date pursuant to Section
VII.B.




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                                          Exhibit F
                         Subdivision Settlement Participation Form


 Governmental Entity:                                               State:
 Authorized Official:
 Address 1:
 Address 2:
 City, State, Zip:
 Phone:
 Email:

The governmental entity identified above (“Governmental Entity”), in order to obtain and in
consideration for the benefits provided to the Governmental Entity pursuant to the Settlement
Agreement dated May 2, 2022 (“Distributors Washington Settlement”), and acting through the
undersigned authorized official, hereby elects to participate in the Distributors Washington
Settlement, release all Released Claims against all Released Entities, and agrees as follows.

   1. The Governmental Entity is aware of and has reviewed the Distributors Washington
      Settlement, including the Distributor Global Settlement Agreement dated July 21, 2021
      (“Global Settlement”) attached to the Distributors Washington Settlement as Exhibit H,
      understands that all terms in this Participation Form have the meanings defined therein,
      and agrees that by signing this Participation Form, the Governmental Entity elects to
      participate in the Distributors Washington Settlement and become a Participating
      Subdivision as provided therein.

   2. The Governmental Entity shall, within 14 days of October 1, 2022 and prior to the filing
      of the Consent Judgment, secure the dismissal with prejudice of any Released Claims that
      it has filed.

   4. The Governmental Entity agrees to the terms of the Distributors Washington Settlement
      pertaining to Subdivisions as defined therein.

   5. By agreeing to the terms of the Distributors Washington Settlement and becoming a
      Releasor, the Governmental Entity is entitled to the benefits provided therein, including,
      if applicable, monetary payments beginning after December 1, 2022.

   6. The Governmental Entity agrees to use any monies it receives through the Distributors
      Washington Settlement solely for the purposes provided therein.

   7. The Governmental Entity submits to the jurisdiction of the Washington Consent
      Judgment Court for purposes limited to that court’s role as provided in, and for resolving
      disputes to the extent provided in, the Distributors Washington Settlement. The
      Governmental Entity likewise agrees to arbitrate before the National Arbitration Panel as
      provided in, and for resolving disputes to the extent otherwise provided in the
      Distributors Washington Settlement.


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   8. The Governmental Entity has the right to enforce the Distributors Washington Settlement
      as provided therein.

   9. The Governmental Entity, as a Participating Subdivision, hereby becomes a Releasor for
      all purposes in the Distributors Washington Settlement, including, but not limited to, all
      provisions of Section XI of the Global Settlement, and along with all departments,
      agencies, divisions, boards, commissions, districts, instrumentalities of any kind and
      attorneys, and any person in their official capacity elected or appointed to serve any of
      the foregoing and any agency, person, or other entity claiming by or through any of the
      foregoing, and any other entity identified in the definition of Releasor, provides for a
      release to the fullest extent of its authority. As a Releasor, the Governmental Entity
      hereby absolutely, unconditionally, and irrevocably covenants not to bring, file, or claim,
      or to cause, assist or permit to be brought, filed, or claimed, or to otherwise seek to
      establish liability for any Released Claims against any Released Entity in any forum
      whatsoever. The releases provided for in the Distributors Washington Settlement are
      intended by the Agreement Parties to be broad and shall be interpreted so as to give the
      Released Entities the broadest possible bar against any liability relating in any way to
      Released Claims and extend to the full extent of the power of the Governmental Entity to
      release claims. The Distributors Washington Settlement shall be a complete bar to any
      Released Claim.

   10. The Governmental Entity hereby takes on all rights and obligations of a Participating
       Subdivision as set forth in the Distributors Washington Settlement.

   11. In connection with the releases provided for in the Distributors Washington Settlement,
       each Governmental Entity expressly waives, releases, and forever discharges any and all
       provisions, rights, and benefits conferred by any law of any state or territory of the
       United States or other jurisdiction, or principle of common law, which is similar,
       comparable, or equivalent to § 1542 of the California Civil Code, which reads:

          General Release; extent. A general release does not extend to claims that
          the creditor or releasing party does not know or suspect to exist in his or
          her favor at the time of executing the release, and that if known by him or
          her would have materially affected his or her settlement with the debtor or
          released party.

      A Releasor may hereafter discover facts other than or different from those which it
      knows, believes, or assumes to be true with respect to the Released Claims, but each
      Governmental Entity hereby expressly waives and fully, finally, and forever settles,
      releases and discharges, upon the date the Distributors Washington Settlement becomes
      effective pursuant to Section II.B of the Distributors Washington Settlement, any and all
      Released Claims that may exist as of such date but which Releasors do not know or
      suspect to exist, whether through ignorance, oversight, error, negligence or through no
      fault whatsoever, and which, if known, would materially affect the Governmental
      Entities’ decision to participate in the Distributors Washington Settlement.


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   12. Nothing herein is intended to modify in any way the terms of the Distributors
       Washington Settlement, to which Governmental Entity hereby agrees. To the extent this
       Participation Form is worded differently from Exhibit F to the Distributors Washington
       Settlement or interpreted differently from the Distributors Washington Settlement in any
       respect, the Distributors Washington Settlement controls.

I have all necessary power and authorization to execute this Participation Form on behalf of the
Governmental Entity.



                                                Signature: _____________________________


                                                Name: ________________________________


                                                Title: _________________________________


                                                Date: _________________________________




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                                       Exhibit G
               Consent Judgment and Stipulation of Dismissal with Prejudice



                                                            The Honorable Michael Ramsey Scott
                                                                 Trial Date: November 15, 2021

                               STATE OF WASHINGTON
                            KING COUNTY SUPERIOR COURT

STATE OF WASHINGTON,                               NO. 19-2-06975-9 SEA

                           Plaintiff,              FINAL CONSENT JUDGMENT AND
                                                   DISMISSAL WITH PREJUDICE
v.

MCKESSON CORPORATION,
CARDINAL HEALTH INC., and
AMERISOURCEBERGEN DRUG
CORPORATION,

                           Defendants.


         FINAL CONSENT JUDGMENT AND DISMISSAL WITH PREJUDICE

       The State of Washington (“State”) and McKesson Corporation, Cardinal Health, Inc.,

AmerisourceBergen Drug Corporation and AmerisourceBergen Corporation, together with the

subsidiaries thereof (collectively, the “Settling Distributors,” and each a “Settling Distributor”)

(together with the State, the “Parties,” and each a “Party”) have entered into a consensual

resolution of the above-captioned litigation (the “Action”) pursuant to a settlement agreement

entitled Distributors Washington Settlement Agreement, dated as of May 2, 2022 (the

“Washington Agreement”), a copy of which is attached hereto as Exhibit A. The Washington

Agreement shall become effective by its terms upon the entry of this Final Consent Judgment

(the “Judgment”) by the Court without adjudication of any contested issue of fact or law, and

without finding or admission of wrongdoing or liability of any kind. By entering into the
Washington Agreement, the State of Washington agrees to be bound by all terms and conditions




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of the Distributor Settlement Agreement, dated as of July 21, 2021 (as subsequently updated)

(the “Global Agreement”), a copy of which is attached hereto as Exhibit B (together with the

Washington Agreement, the “Agreements”) unless stated otherwise in the Washington

Agreement. Unless stated otherwise in the Washington Agreement, the terms of the Washington

Agreement are intended to be consistent with the terms of the Global Settlement and shall be

construed accordingly.

                                       I.        RECITALS:
       1. Each Party warrants and represents that it engaged in arm’s-length negotiations in good

faith. In hereby executing the Agreements, the Parties intend to effect a good-faith settlement.

       2. The State has determined that the Agreements are in the public interest.

       3. The Settling Distributors deny the allegations against them and that they have any

liability whatsoever to the State, its Subdivisions, and/or (a) any of the State’s or Subdivisions’

departments, agencies, divisions, boards, commissions, districts, instrumentalities of any kind and

attorneys, including its Attorney General, and any person in his or her official capacity whether

elected or appointed to serve any of the foregoing and any agency, person, or other entity claiming

by or through any of the foregoing, (b) any public entities, public instrumentalities, public

educational institutions, unincorporated districts, fire districts, irrigation districts, and other

Special Districts, and (c) any person or entity acting in a parens patriae, sovereign, quasi-
sovereign, private attorney general, qui tam, taxpayer, or other capacity seeking relief on behalf of

or generally applicable to the general public.

       4. The Parties recognize that the outcome of the Action is uncertain and a final resolution

through the adversarial process likely will require protracted litigation.

       5. The Parties agree to the entry of the injunctive relief terms pursuant to Exhibit P of the

Global Agreement.

       6. Therefore, without any admission of liability or wrongdoing by the Settling Distributors

or any other Released Entities (as defined in the Global Agreement), the Parties now mutually
consent to the entry of this Judgment and agree to dismissal of the claims with prejudice pursuant


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to the terms of the Agreements to avoid the delay, expense, inconvenience, and uncertainty of

protracted litigation.

NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        In consideration of the mutual promises, terms, and conditions set forth in the

Agreements, the adequacy of which is hereby acknowledged by all Parties, it is agreed by and

between the Settling Distributors and the State, and adjudicated by the Court, as follows:


        1. The foregoing Recitals are incorporated herein and constitute an express term of this

Judgment.

        2. The Parties have entered into a full and final settlement of all Released Claims of

Releasors against the Settling Distributors (including but not limited to the State) and the Released

Entities pursuant to the terms and conditions set forth in the Agreements.

        3. The “Definitions” set forth in Section I of the Global Agreement are incorporated by

reference into this Judgment. The State is a “Settling State” within the meaning of the Global

Agreement. Unless otherwise defined herein, capitalized terms in this Judgment shall have the

same meaning given to them in the Global Agreement, or, if not defined in the Global Agreement,

the same meaning given to them in the Washington Agreement.

        4. The Parties agree that the Court has jurisdiction over the subject matter of the Action

and over the Parties with respect to the Action and this Judgment. This Judgment shall not be
construed or used as a waiver of any jurisdictional defense the Settling Distributors or any other

Released Entity may raise in any other proceeding.

        5. The Court finds that the Agreements were entered into in good faith.

        6. The Court finds that entry of this Judgment is in the public interest and reflects a

negotiated settlement agreed to by the Parties. The Action is dismissed with prejudice, subject to

a retention of jurisdiction by the Court as provided herein and in the Agreements.




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       7. By this Judgment, the Agreements are hereby approved by the Court, and the Court

hereby adopts their terms as its own determination of this matter and the Parties’ respective rights

and obligations.

       8. The Court shall have authority to resolve disputes identified in Section VI.F.1 of the

Global Agreement, governed by the rules and procedures of the Court.

       9. The Parties have satisfied the Conditions to Effectiveness of Agreement set forth in

Section II.B of the Washington Agreement as follows:

       a.      The Enforcement Committee and the Settling Distributors executed the

               Enforcement Committee Agreement by June 1, 2022.

       b.      All Litigating Subdivisions in the State of Washington and ninety percent (90%)

               of Non-Litigating Primary Subdivisions (calculated by population pursuant to the

               Global Settlement) in the State of Washington became Participating Subdivisions

               by September 23, 2022.

       10. The Parties have satisfied the Condition to Effectiveness of Agreement set forth in

Section VIII of the Global Agreement and the Release set forth in Sections XI.A, F, and G of the

Global Agreement, as follows:

       a.      The Attorney General of the State exercised the fullest extent of his or her powers

               to release the Settling Distributors and all other Released Entities from all
               Released Claims pursuant to the release attached hereto as Exhibit C (the “AG

               Release”).

       b.      The Settling Distributors have determined that there is sufficient State

               participation and sufficient resolution of the Claims of the Litigating Subdivisions

               in the Settling States to proceed with the Agreements.

       c.      The Participation Form for each Initial Participating Subdivision in the State has

               been delivered to the Settling Distributors. As stated in the Participation Form,

               and for the avoidance of doubt, nothing in the Participation Form executed by the
               Participating Subdivisions is intended to modify in any way the terms of the


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               Agreements to which the Participating Subdivisions agree. As stated in the

               Participation Form, to the extent the executed version of the Participation Form

               differs from the Global Agreement in any respect, the Global Agreement controls.

       d.      Pursuant to Section VIII.B of the Global Agreement, each Participating

               Subdivision in the State is dismissing with prejudice any Released Claims that it

               has filed against the Settling Distributors and the Released Entities.

       11. Release. The Parties acknowledge that the AG Release, which is incorporated by

reference herein, is an integral part of this Judgment. Pursuant to the Agreements and the AG

Release and without limitation and to the maximum extent of the power of the State’s Attorney

General, the Settling Distributors and the other Released Entities are, as of the Effective Date,

hereby released from any and all Released Claims of (a) the State and its Participating Subdivisions

and any of their departments, agencies, divisions, boards, commissions, Subdivisions, districts,

instrumentalities of any kind and attorneys, including the State’s Attorney General, and any person

in his or her official capacity whether elected or appointed to serve any of the foregoing, and any

agency, person, or other entity claiming by or through any of the foregoing, (b) any public entities,

public instrumentalities, public educational institutions, unincorporated districts, fire districts,

irrigation districts, and other Special Districts in the State, and (c) any person or entity acting in a

parens patriae, sovereign, quasi-sovereign, private attorney general, qui tam, taxpayer, or other
capacity seeking relief on behalf of or generally applicable to the general public with respect to

the State or any Subdivision in the State, whether or not any of them participate in the Agreements.

Pursuant to the Agreements and the AG Release and to the maximum extent of the State’s power,

the Settling Distributors and the other Released Entities are, as of the Effective Date, hereby

released from any and all Released Claims of (1) the State, (2) all past and present executive

departments, state agencies, divisions, boards, commissions and instrumentalities with the

regulatory authority to enforce state and federal controlled substances acts, and (3) any of the

State’s past and present executive departments, agencies, divisions, boards, commissions and
instrumentalities that have the authority to bring Claims related to Covered Conduct seeking


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money (including abatement and/or remediation) or revocation of a pharmaceutical distribution

license. For the purposes of clause (3) above, executive departments, agencies, divisions, boards,

commissions, and instrumentalities are those that are under the executive authority or direct control

of the State’s Governor. Further, the provisions set forth in Section XI of the Global Agreement

are incorporated by reference into this Judgment as if fully set forth herein.           The Parties

acknowledge, and the Court finds, that those provisions are an integral part of the Agreements and

this Judgment, and shall govern the rights and obligations of all participants in the settlement. Any

modification of those rights and obligations may be made based only on a writing signed by all

affected parties and approved by the Court.

       12. Release of Unknown Claims. The State expressly waives, releases, and forever

discharges any and all provisions, rights, and benefits conferred by any law of any state or territory

of the United States or other jurisdiction, or principle of common law, which is similar,

comparable, or equivalent to § 1542 of the California Civil Code, which reads:


               General Release; extent. A general release does not extend to
               claims that the creditor or releasing party does not know or suspect
               to exist in his or her favor at the time of executing the release that,
               if known by him or her, would have materially affected his or her
               settlement with the debtor or released party.
       13. The State may hereafter discover facts other than or different from those which it
knows, believes, or assumes to be true with respect to the Released Claims, but the State expressly

waived and fully, finally, and forever settled, released and discharged, through the Agreements

and AG Release, any and all Released Claims that may exist as of the Effective Date but which

the State does not know or suspect to exist, whether through ignorance, oversight, error, negligence

or through no fault whatsoever, and which, if known, would have materially affected the State’s

decision to enter into the Agreements.

       14. Costs and Fees. The Parties will bear their own costs and attorneys’ fees except as

otherwise provided in the Agreements.




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       15. No Admission of Liability. The Settling Distributors are consenting to this Judgment

solely for the purpose of effectuating the Agreements, and nothing contained herein may be taken

as or construed to be an admission or concession of any violation of law, rule, or regulation, or of

any other matter of fact or law, or of any liability or wrongdoing, all of which the Settling

Distributors expressly deny. None of the Settling Distributors or any other Released Entity admits

that it caused or contributed to any public nuisance, and none of the Settling Distributors or any

other Released Entity admits any wrongdoing that was or could have been alleged by the State, its

Participating Subdivisions, or any other person or entity. No part of this Judgment shall constitute

evidence of any liability, fault, or wrongdoing by the Settling Distributors or any other Released

Entity. The Parties acknowledge that payments made under the Agreements are not a fine, penalty,

or payment in lieu thereof and are properly characterized as described in Section V.F of the Global

Agreement.

       16. No Waiver. This Judgment is entered based on the Agreements without adjudication

of any contested issue of fact or law or finding of liability of any kind. This Judgment shall not be

construed or used as a waiver of any Settling Distributor’s right, or any other Released Entity’s

right, to defend itself from, or make any arguments in, any other regulatory, governmental, private

individual, or class claims or suits relating to the subject matter or terms of this Judgment.

Notwithstanding the foregoing, the State may enforce the terms of this Judgment as expressly
provided in the Agreements.

       17. No Private Right of Action. This Judgment is not intended for use by any third party

for any purpose, including submission to any court for any purpose, except pursuant to Section

VI.A of the Global Agreement. Except as expressly provided in the Agreements, no portion of the

Agreements or this Judgment shall provide any rights to, or be enforceable by, any person or entity

that is not a Settling State or Released Entity. The State shall allow Participating Subdivisions in

the State to notify it of any perceived violations of the Agreements or this Judgment. No Settling

State, including the State of Washington, may assign or otherwise convey any right to enforce any
provision of the Agreements.


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       18. Admissibility. It is the intent of the Parties that this Judgment not be admissible in

other cases against the Settling Distributors or binding on the Settling Distributors in any respect

other than in connection with the enforcement of this Judgment or the Agreements. For the

avoidance of doubt, nothing herein shall prohibit a Settling Distributor from entering this Judgment

or the Agreements into evidence in any litigation or arbitration concerning (1) a Settling

Distributor’s right to coverage under an insurance contract or (2) the enforcement of the releases

provided for by the Agreements and this Judgment.

       19. Preservation of Privilege. Nothing contained in the Agreements or this Judgment, and

no act required to be performed pursuant to the Agreements or this Judgment, is intended to

constitute, cause, or effect any waiver (in whole or in part) of any attorney-client privilege, work

product protection, or common interest/joint defense privilege, and each Party agrees that it shall

not make or cause to be made in any forum any assertion to the contrary.

       20. Mutual Interpretation. The Parties agree and stipulate that the Agreements were

negotiated on an arm’s-length basis between parties of equal bargaining power and was drafted

jointly by counsel for each Party. Accordingly, the Agreements are incorporated herein by

reference and shall be mutually interpreted and not construed in favor of or against any Party,

except as expressly provided for in the Agreements.

       21. Retention of Jurisdiction. The Court shall retain jurisdiction of the Parties for the
limited purpose of the resolution of disputes identified in Section VI.F.1 of the Global Agreement.

The Court shall have jurisdiction over Participating Subdivisions in the State for the limited

purposes identified in the Agreements.

       22. Successors and Assigns. This Judgment is binding on each of the Settling Distributor’s

successors and assigns.

       23. Modification. This Judgment shall not be modified (by the Court, by any other court,

or by any other means) without the consent of the State and the Settling Distributors, or as provided

for in Section XIV.U of the Global Agreement.




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   So ORDERED this _____ day of _________________ 2022.


                               ____________________________________________
                               THE HONORABLE JUDGE MICHAEL. R. SCOTT


APPROVED, AGREED TO AND PRESENTED BY:



ROBERT W. FERGUSON                        STOEL RIVES LLP
Attorney General


s/                                        s/
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MOTLEY RICE LLC                           s/
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                                          A. JOSHUA PODOLL, pro hac vice
s/                                        SUZANNE SALGADO, pro hac vice
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JAMES LEDLIE, pro hac vice                DAVID J. PARK, pro hac vice
DON MIGLIORI, pro hac vice                JOSHUA D. TULLY, pro hac vice
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MICHAEL J. QUIRK, pro hac vice            ENU A. MAINIGI, pro hac vice
ANNIE KOUBA, pro hac vice                 JENNIFER G. WICHT, pro hac vice
MICHAEL J. PENDELL, pro hac vice          JOSEPH S. BUSHUR, pro hac vice
CHRISTOPHER MORIARTY, pro hac vice        COLLEEN MCNAMARA, pro hac vice
LISA M. SALTZBURG, pro hac vice           MATTHEW P. MOONEY, pro hac vice
NATALIA DEYNEKA, pro hac vice             ASHLEY W. HARDIN, pro hac vice
MICHAEL E. ELSNER, pro hac vice           J. ANDREW KEYES, pro hac vice
ANDREW P. ARNOLD, pro hac vice            EMILY R. PISTILLI, pro hac vice
MIMI LIU, pro hac vice                    BRAD MASTERS, pro hac vice


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VINCENT GREENE, pro hac vice

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                                                s/_____________________________
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                                                Attorneys for Defendant McKesson Corp.


                                                LANE POWELL PC


                                                s/_______________________________
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                                                PILAR FRENCH, WSBA No. 33300

                                                REED SMITH LLP

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                                        STEVEN BORANIAN, pro hac vice
                                        ELIZABETH BRANDON, pro hac vice


                                        Attorneys for Defendant AmerisourceBergen
                                        Drug Corporation and AmerisourceBergen
                                        Corporation




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                              DECLARATION OF SERVICE

       I declare that I caused a copy of the foregoing document to be electronically served using

the Court’s Electronic Filing System, which will serve a copy of this document upon all counsel

of record.

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DATED ___ day of ____________________ 2022, at Seattle, Washington.

                                    s/
                                    ANDREW R.W. HUGHES, WSBA No. 49515




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                                    Exhibit H
                     Distributor Global Settlement Agreement



[See attachment.]




                                      H-1
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               Amendment to Distributors Washington Settlement Agreement

The Agreement Parties to the Distributors Washington Settlement Agreement (“Agreement”)
agree that Sections V.B–D of the Agreement shall be amended to read as set forth below in
this Amendment to the Distributors Washington Settlement Agreement (“Amendment”).1

            B.      Amounts. The total estimated amount to cover all Washington Fees and
    Costs is $87,750,230.98, which includes both the amount set forth in Section V.B.1 and the
    estimated amount set forth in Section V.B.2.

                     1.     State Outside and Inside Counsel Fees and Costs. Settling Distributors
           shall pay $76,829,316.21 to cover in-house fees and costs and outside counsel fees and
           costs to the Washington Attorney General’s Office, which shall be used for any lawful
           purpose in the discharge of the Attorney General’s duties at the sole discretion of the
           Attorney General. The amount shall be paid in the increments and on the schedule as
           specified in Section V.C (Payment Year 1 – 20%, Payment Year 2 – 20%, Payment
           Year 3 – 15%, Payment Year 4 – 15%, Payment Year 5 – 15%, Payment Year 6 – 10%,
           Payment Year 7– 5%).

                     2.     Fees and Costs for Participating Litigating Subdivisions’ Attorneys.
           The Agreement Parties have estimated that $10,920,914.77 is the Contingency Fee
           Fund amount described in Section II.D of Exhibit R of the Global Settlement allocable
           to Litigating Subdivisions in the State of Washington (the “Estimated Washington
           Contingency Fee Allocation”). The actual amount may be greater or less. Attorneys
           engaged in Qualifying Representations of Participating Litigating Subdivisions who
           meet the criteria set forth in Section II.G of Exhibit R of the Global Settlement may
           apply for the Attorney Fee Fund and Litigating Subdivision Cost Fund as set forth in
           Exhibit R of the Global Settlement. For the avoidance of doubt, application to the
           Attorney Fee Fund, Litigating Subdivision Cost Fund and MDL Expense Fund is the
           sole means through which Participating Litigating Subdivisions and their counsel may
           receive attorneys’ fees and costs under this Agreement, except that subdivisions may
           pay fees and costs to their attorneys pursuant to a State Back-Stop agreement.

           C.        Schedule. State Outside and Inside Counsel Fees and Costs shall be paid
    according to the following schedule:

                   1.     Payment Year 1: Twenty percent (20%) of the State Outside and Inside
           Counsel Fees and Costs amount ($15,365,863.24), to be paid on or before December 1,
           2022.

                   2.     Payment Year 2: Twenty percent (20%) of the State Outside and Inside
           Counsel Fees and Costs amount ($15,365,863.24), to be paid on or before December 1,
           2022.



1
 Unless otherwise indicated herein, all capitalized terms used in this Amendment shall have the
meanings given to them by the Agreement.


                                                  1
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                3.     Payment Year 3: Fifteen percent (15%) of the State Outside and Inside
        Counsel Fees and Costs amount ($11,524,397.43), to be paid on or before July 15, 2023.

                4.     Payment Year 4: Fifteen percent (15%) of the State Outside and Inside
        Counsel Fees and Costs amount ($11,524,397.43), to be paid on or before July 15, 2024.

                5.     Payment Year 5: Fifteen percent (15%) of the State Outside and Inside
        Counsel Fees and Costs amount ($11,524,397.43), to be paid on or before July 15, 2025.

                6.     Payment Year 6: Ten percent (10%) of the State Outside and Inside
        Counsel Fees and Costs amount ($7,682,931.62), to be paid on or before July 15, 2026.

                7.     Payment Year 7: Five percent (5%) of the State Outside and Inside
        Counsel Fees and Costs amount ($3,841,465.81), to be paid on or before July 15, 2027.

         D.       Remittance. So that Settling Distributors do not pay the same fees and costs
under both the Global Settlement and this Agreement, the State of Washington and its counsel
shall do as follows:

                  1.      The State of Washington shall instruct the Fee Fund Administrator
        selected pursuant to Exhibit S of the Global Settlement that the Settling Distributors shall
        not pay the Fixed Amount for the State of Washington, and the State of Washington will
        not be eligible to receive funds from the State Outside Counsel Fee Fund under the
        Global Settlement.

               2.       The State of Washington shall instruct the State Cost Fund
       Administrator selected pursuant to Exhibit T of the Global Settlement that the State of
       Washington will not be eligible to receive funds from the State Cost Fund under the
       Global Settlement.



[Signatures begin on next page.]




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Authorized and agreed to by:




 Dated:   August 23, 2022         AMERISOURCEBERGEN CORPORATION



                                  By:
                                        Elizabeth Campbell
                                        Executive Vice President and Chief Legal Officer
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Authorized and agreed to by:




 Dated: 8/19/2022                 MCKESSON CORPORATION



                                  By:

                                        Name: Thomas J. Perrelli, on behalf of McKesson

                                        Title: Outside Counsel for McKesson
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Authorized and agreed to by:




 Dated: August 23, 2022           CARDINAL HEALTH, INC.



                                  By:

                                        Name: Jessica L. Mayer

                                        Title: Chief Legal and Compliance Officer
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           Second Amendment to Distributors Washington Settlement Agreement

The Agreement Parties to the Distributors Washington Settlement Agreement (“Agreement”)
agree that Section II.C.1 of the Agreement shall be amended to read as set forth below in
this second amendment to the Distributors Washington Settlement Agreement (“Second
Amendment”)1:

            C.        Participation by Subdivisions. If the condition in Section II.B has been
    satisfied, this Agreement shall become effective upon one of the following conditions being
    satisfied:

      1. All Litigating Subdivisions in the State of Washington and ninety percent (90%) of Non-
         Litigating Primary Subdivisions (calculated by population pursuant to the Global
         Settlement) in the State of Washington must become Participating Subdivisions by
         September 30, 2022.

The Agreement Parties further agree that Sections III.B and III.C of the Agreement shall be
amended to read as set forth below in this Second Amendment:

        B.      Trigger Date for Later Litigating Subdivisions. Notwithstanding Sections I.EE
and I.GGGG of the Global Settlement, as to the State of Washington, Settling Distributors and
the State of Washington agree to treat the Trigger Date for Primary Subdivisions as September
30, 2022 and the Trigger Date for all other Subdivisions as May 3, 2022.

        C.        Initial and Later Participating Subdivisions. Notwithstanding Sections I.BB,
I.CC, I.FF and Section VII.D and E of the Global Settlement, any Participating Subdivision in
Washington that meets the applicable requirements for becoming a Participating Subdivision set
forth in Section VII.B or Section VII.C of the Global Settlement on or before September 30,
2022 shall be considered an Initial Participating Subdivision. Participating Subdivisions that are
not Initial Participating Subdivisions but meet the applicable requirements for becoming
Participating Subdivisions set forth in Section VII.B or Section VII.C of the Global Settlement
after September 30, 2022 shall be considered Later Participating Subdivisions.



[Signatures begin on next page.]




1
 Unless otherwise indicated herein, all capitalized terms used in this Amendment shall have the
meanings given to them by the Agreement.


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Authorized and agreed to by:




 Dated: Sept. 16, 2022            MCKESSON CORPORATION



                                  By:

                                        Name:    Thomas J. Perrelli, Counsel for McKesson

                                        Title:   Counsel for McKesson
Case: 1:17-md-02804-DAP Doc #: 4671-2 Filed: 10/11/22 50 of 51. PageID #: 601469




Authorized and agreed to by:




 Dated:   9/16/22                 CARDINAL HEALTH, INC.




                                  By:

                                        Elaine P. Golin
                                        Wachtell, Lipton, Rosen & Katz
                                        Counsel for Cardinal Health, Inc.
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